Case 2:04-cv-02637-SHI\/|-dkv Document 23 Filed 06/01/05 Page 1 of 2 Page|D 31

 

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lN THE UNITED sTATEs DIsTRiCT COURT ' 4/ '~"" --§»
FOR THE WESTERN DIsTRiCT or TENNESSEE C;)` s';;,ig .. f 3,_: b/"
WESTERN DIVISION _‘ /’ §" l2
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zURICH sPECIALTIEs LoNDoN, LTD., ' 'Wf:f»fr-ws
Piaintifr,
Vs. No. 04~2637-Ma

RON MOORE d/b/a R&J DISTRIBUTION;
PHILLIP MORRIS, USA; HUB GROUP
DISTRIBUTION SERVICES; and

DONN OSTRANDER d/b/a MID SOUTH
DISTRlBUTION,

Defendants.

 

ORDER OF DISMISSAL

 

Before the court is the plaintiff’s May 27, 2005 Notice of Voluntary Non-Suit Without
Prejudice pursuant to Rule 41 of the Federal Rules of Civil Prooedure.

Defendants Ron Moore, Phillip Morris, USA, and HUB Group Distribution services have
each filed answers in this matter and therefore are required to respond to the instant motion filed
by plaintiff

For good cause shown, the motion Will be granted as to Defendant Donn Ostrander, d/b/a
Mid South Distribution. lt is therefore ORDERED that this case is DISMISSED Without

prejudice as to Defendant Donn Ostrander, d/b/a Mid South Distribution.

M/%/

SAMUEL H. MAYS, JR.

Entered this 3\-Yl" day of May, 2005.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:04-CV-02637 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

